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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF LOUISIANA

                                                         )
    In re                                                )          Case No. 19-13253
                                                         )
    Offshore Marine Contractors, Inc.,                   )          Chapter 11
                                                         )
                           Debtor.                       )          Section B
                                                         )
                                                         )

                       EX PARTE APPLICATION TO EMPLOY BOHMAN
                       MORSE, LLC AS SPECIAL MARITIME COUNSEL

            Bankruptcy Code section 327(e) allows the debtor-in-possession (“DIP”), if in the best

   interest of the estate and with the Court’s approval, to “employ, for a specified special purpose . .

   ., an attorney that has represented the debtor . . . if such attorney does not represent or hold any

   interest adverse to the debtor or to the estate with respect to the matter on which such attorney is

   to be employed.” 11 U.S.C. § 327(e). Offshore Marine Contractors, Inc. (the “Debtor”) submits

   this ex parte application (the “Application”) seeking authority to employ Martin S. Bohman and

   Bohman Morse, LLC (“Applicant” or “Bohman”) as its special maritime counsel, effective nunc

   pro tunc to the Petition Date, to provide the Debtor with special maritime legal services to the

   extent necessary and as requested by the Debtor. In support of this Application, the Debtor

   respectfully states as follows:

            1.     This case was filed on December 4, 2019 (the “Petition Date”) by the Debtor. The

   Debtor continues to operate its business and manage its property as a DIP pursuant to 11 U.S.C.

   §§ 1107 and 1108. No trustee or examiner has been requested or appointed, and no official

   committee of creditors or equity interest holders has been established.

            2.     This Court has jurisdiction to consider this application pursuant to 28 U.S.C. §§

   157 and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

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   before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. This Application is brought under 11

   U.S.C. § 327(e), Federal Rules of Bankruptcy Procedure 2014 and 2016, Local Rule 2014-1, and

   this Court’s General Order Regarding Procedures for Complex Chapter 11 Cases.

          3.      The Debtor seeks authorization to retain and employ Bohman as its counsel for

   specific special purposes during this case, including but not limited to issues that may arise during

   these chapter 11 proceedings related to compliance with the U.S. citizenship and cabotage laws

   principally contained in 46 United States Code Chapters 121, 505, and 551 and the rules and

   regulations promulgated thereunder relating to the ownership and operation of U.S.-flagged

   vessels in the U.S. coastwise trade, which are commonly known as the Jones Act, and other

   maritime law matters (collectively, the “Maritime Counsel Matters”).

          4.      Bankruptcy Code section 327(e) allows the Debtor to continue Bohman’s

   employment if it is in the best interest of the estate and with the Court’s approval, to “employ, for

   a specified special purpose . . ., an attorney that has represented the debtor . . . if such attorney

   does not represent or hold any interest adverse to the debtor or to the estate with respect to the

   matter on which such attorney is to be employed.” 11 U.S.C. § 327(e). The Applicant has

   represented, and continues to represent, the Debtor, has institutional knowledge and expertise that

   are of great benefit to the Debtor, and does not represent or hold any interest adverse to the Debtor

   or to the estate with respect to the matter on which Applicant is to be employed.

          5.      Attached as Exhibit “A” is the Rule 2014(a) verified statement of Martin S.

   Bohman, partner of Bohman, setting forth Bohman’s “connections with the debtor, creditors, any

   other party in interest, their respective attorneys and accountants, the United States trustee, or any

   person employed in the office of the United States trustee.” Attached as Exhibit “B” is the

   Debtor’s proposed order employing Bohman as its special maritime counsel.



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          6.      Rule 2014(a) requires that this Application evidence (a) the specific facts showing

   the necessity for the employment, (b) the name of the person to be employed, (c) the reasons for

   the selection, (d) the professional services to be rendered, (e) any proposed arrangement for

   compensation, and, (f) to the best of the applicant’s knowledge, all of the person’s connections

   with the debtor, creditors, any other party in interest, their respective attorneys and accountants,

   the United States trustee, or any person employed in the office of the United States trustee.

                  a.      The Debtor has numerous duties under 46 United States Code Chapters 121,
                          505, and 551 and the rules and regulations promulgated thereunder relating
                          to the ownership and operation of U.S.-flagged vessels in the U.S. coastwise
                          trade, which are commonly known as the Jones Act, and other maritime law
                          matters that require the assistance of special maritime counsel.

                  b.      The Debtor seeks to employ Martin S. Bohman and the law firm of Bohman
                          Morse, LLC.

                  c.      The Debtor has selected the attorneys of Bohman for several reasons,
                          including their skill and experience in handling Maritime Counsel Matters,
                          the work Martin S. Bohman performed for the Debtor prior to filing the
                          case, and Bohman’s invaluable knowledge about the Debtor drawn on past
                          experiences.

                  d.      Bohman will handle all matters in this proceeding that should be handled
                          by special maritime counsel for a DIP, which will generally consist of
                          Maritime Counsel Matters as described above.

                  e.      Bohman will perform all necessary legal services for the Debtor at the rates
                          for services shown below:

      Individual                                        Hourly Rate
      Partner (10+ years) & Senior Counsel              $290.00
      Partner (5-10 years in practice)                  $275.00
      Senior Associate (3-10 years in practice)         $205.00
      Junior Associate (0-3 years in practice)          $175.00
      Paralegal                                         $100.00
      Law Clerk                                         $75.00
      Administrative                                    No Charge


                  f.      To the best of Martin S. Bohman’s knowledge, Applicant has no connection
                          with the Debtor, its creditors or any other party-in-interest, their respective


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                            attorneys and accountants, the United States Trustee or any person
                            employed in the office of the United States Trustee other than:

                        i. Applicant currently represents the Debtor as general counsel and in matters
                           preliminary hereto.

                       ii. Applicant previously represented creditor Glencor, Inc. but does not
                           currently represent it and will not represent it in connection with this case.

           7.      Any fees for services and amounts for reimbursement of expenses incurred

   postpetition will be applied for pursuant to Section XIII of this Court’s General Order 2019-4,

   General Order Regarding Procedures for Complex Chapter 11 Cases.

           8.      Under this Court’s Local Rule 2014-1(B)(3), a request for interim employment may

   be filed ex parte on seven (7) days’ notice to the United States Trustee, all known secured and

   priority claimants, and the twenty (20) largest unsecured creditors. Further, Rule 2014-1(B)(3)

   provides that an application for final approval of employment requires twenty-one (21) days’

   notice to all persons on the mailing list, as well as the United States Trustee.

           9.      The Application, the verified statement of Martin S. Bohman, and the proposed

   order have been served upon (a) the United States Trustee, (b) all secured creditors, (c) the twenty

   (20) largest unsecured creditors, (d) the United States Attorney, (e) all parties having requested

   notice, (f) all committees, and (g) their respective counsel.

           10.     Under § XIII(A) of this Court’s General Order Regarding Procedures for Complex Chapter

   11 Cases, this motion is filed less than thirty (30) days after the filing of the case, thereby obviating the

   necessity of nunc pro tunc relief.

           11.     If a party wishes to oppose the Application, the opponent must file a written

   objection and set the opposition for hearing on an expedited basis after contacting chambers for a

   hearing date pursuant to Local Rule 2014-1.




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          WHEREFORE, the Debtor and Bohman request (i) that the Debtor immediately be

   authorized to employ Martin S. Bohman and the firm of Bohman Morse, LLC and any of its

   attorneys or staff under a general retainer to represent the Debtor as special maritime counsel on

   an interim basis under the terms requested herein, (ii) that the Court enter a final order authorizing

   Martin S. Bohman and Bohman Morse, LLC’s employment upon the expiration of twenty-one

   (21) days following the filing of this Application, and (iii) such other relief as this Court may deem

   appropriate.

                                                  Respectfully Submitted,

                                                  STEWART ROBBINS BROWN & ALTAZAN, LLC
                                                  301 Main Street, Suite 1640
                                                  P. O. Box 2348
                                                  Baton Rouge, LA 70821-2348
                                                  (225) 231-9998 Telephone
                                                  (225) 709-9467 Fax

                                          By:     /s/ Paul Douglas Stewart, Jr.
                                                  Paul Douglas Stewart, Jr. (La. #24661)(T.A.)
                                                  dstewart@stewartrobbins.com
                                                  Brandon A. Brown (La. #25592)
                                                  bbrown@stewartrobbins.com

                                                  Proposed Counsel for Offshore Marine
                                                  Contractors, Inc.




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                                  EXHIBIT A
                        VERIFIED STATEMENT
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                                  EXHIBIT B
                           PROPOSED ORDER
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF LOUISIANA

                                                          )
    In re                                                 )         Case No. 19-13253
                                                          )
    Offshore Marine Contractors, Inc.,                    )         Chapter 11
                                                          )
                            Debtor.                       )         Section B
                                                          )
                                                          )

     [PROPOSED] INTERIM ORDER AUTHORIZING EMPLOYMENT OF BOHMAN
    MORSE, LLC AS SPECIAL MARITIME COUNSEL FOR DEBTOR-IN-POSSESSION

            CONSIDERING the Ex Parte Application to Employ Bohman Morse, LLC as Special

   Maritime Counsel [P-___] (the “Application”) filed by the Debtor and applicable law:

            IT IS ORDERED that the debtor-in-possession is authorized pursuant to section 327(e)

   of the Bankruptcy Code and this Order to immediately retain Martin S. Bohman and the law firm

   of Bohman Morse, LLC (“Counsel”) as its special maritime counsel in all matters relating to the

   performance of its duties under applicable maritime law on an interim basis, effective nunc pro

   tunc to the Petition Date.

            IT IS FURTHER ORDERED that Counsel shall:

   1.       Provide the debtor-in-possession with legal services to the extent necessary and as
            requested by the debtor-in-possession, with respect to issues that may arise during these
            chapter 11 proceedings related to compliance with its duties and obligations imposed by
            the maritime law of the United States of America and other applicable maritime law
            matters.

   2.       Make reasonable effort to comply with the United States Trustee’s requests for information
            and additional disclosures as set forth in the Guidelines for Reviewing Applications for
            Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 for Attorneys
            in Larger Chapter 11 Cases in connection with interim and final fee applications to be filed
            by Counsel in these chapter 11 proceedings.

            IT IS FURTHER ORDERED that this Order does not approve specific hourly rates for

   Counsel. Counsel shall be entitled to receive reasonable compensation and reimbursement of
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   actual, necessary expenses only pursuant to 11 U.S.C. §§ 330 and 331, the Federal Rules of

   Bankruptcy Procedure, this Court’s Local Rules, and Section XIII of this Court’s General Order

   2019-4, General Order Regarding Procedures for Complex Chapter 11 Cases.

          IT IS FURTHER ORDERED that if no party timely objects to the Application, this Order

   shall become final for approval of employment of Counsel upon the expiration of twenty-one (21)

   days following service of the Application.

          IT IS FURTHER ORDERED that Counsel shall serve this Order on the required parties

   who will not receive notice through the ECF system pursuant to the Federal Rules of Bankruptcy

   Procedure and the Local Rules and file a certificate of service to that effect within three (3) days.
